     Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 1 of 36 PageID #:197




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

LISA JOHNSON AND GALE MILLER                  §
ANDERSON, on Behalf of Themselves             §
and on Behalf of All Others Similarly         §
Situated,                                     §
                                              §   Case No.: 1:23-CV-00685
        Plaintiffs,                           §
                                              §   Honorable Judge Thomas M. Durkin
V.                                            §
                                              §
AMAZON.COM SERVICES, LLC,                     §
                                              §
        Defendant.                            §

             PLAINTIFFS’ RESPONSE TO AMAZON’S MOTION TO DISMISS




                                          i
      Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 2 of 36 PageID #:198




                                                    TABLE OF CONTENTS


I.    INTRODUCTION .................................................................................................................. 1

II.   ARGUMENT .......................................................................................................................... 2
          A.        Applicable Legal Standard ...................................................................................... 2
          B.        Plaintiffs’ FLSA Claims Plausibly State a Claim ................................................... 2
                    1.         Plaintiffs have pled sufficient facts that the time spent in the
                               COVID-19 screenings is “integral and indispensable” to their
                               principal work activities .............................................................................. 2
                    2.         The U.S. Department of Labor has issued authority providing that
                               the time spent in health examinations, like the COVID-19
                               screenings, is compensable under the FLSA .............................................. 9
                    3.         Amazon’s Motion to Dismiss should be denied because the facts
                               pled by the Plaintiffs establish that Amazon primarily benefited
                               from the COVID-19 screenings. ............................................................... 12
                    4.         To date, every federal court to have considered Amazon’s
                               Arguments Have Allowed the Claims to Advance Past the
                               Pleading Stage........................................................................................... 14
          C.        Plaintiffs Plausibly Allege a Claim Under the IMWL .......................................... 16
                    1.         Under the IMWL, Hours Worked Includes All Time the Employee
                               is Required to Be on the Employer’s Premises ......................................... 17
                    2.         The IMWL Does Not Incorporate Portal-to-Portal Act Provisions .......... 19
                               i.        The Portal-to-Portal Act ................................................................ 19
                               ii.       Controlling Circuit Authority Holds Hours Worked Under
                                         the IMWL Differ from Hours Worked Under the FLSA .............. 20
                               iii.      The IMWL Makes No Mention to the Portal-to-Portal Act
                                         or its Provisions............................................................................. 21
                               iv.       The IMWL’s Adoption of Other FLSA Exclusions By
                                         Specific Reference Emphasizes the Significance of the
                                         Omitted Portal Act Provisions ...................................................... 22
                    3.         Amazon Does Not Provide Direct Support that the IMWL
                               Incorporates the Portal-to-Portal Act Provisions ...................................... 23
          D.        Plaintiffs Plausibly State a Claim Under the IWPCA ........................................... 24
          E.        Plaintiffs Have Plausibly Alleged a Quantum Meruit Claim................................ 26

III. CONCLUSION ..................................................................................................................... 28




                                                                    i
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 3 of 36 PageID #:199




                                               TABLE OF AUTHORITIES

Cases
Aguilar v. Mgmt & Training Corp.
  948 F.3d 1270 (10th Cir. 2020) ........................................................................................ 7, 8, 16
Amaya v. DGS Constructions, LLC
  278 A.3d 1216 (Md. 2022) ....................................................................................................... 22
Anderson v. Mt. Clemens Pottery Co.
  328 U.S. 680 (1946) ............................................................................................................ 19, 20
Bartlett v. City of Chicago
  2019 WL 4823532 (N.D. Ill. Oct. 1, 2019)............................................................................... 24
Bell Atl. Corp. v. Twombly
  550 U.S. 544 (2007) .................................................................................................................... 2
Bogie v. Rosenberg
  705 F.3d 603 (7th Cir. 2013) .................................................................................................... 17
Boone v. Amazon.com Services, LLC
  562 F. Supp. 3d 1103 (E.D. Cal. 2022)..................................................................... 1, 13, 14, 16
Brown v. Club Assist Rd. Serv. U.S., Inc.
  No. 12 CV 5710, 2013 WL 5304100 (N.D. Ill. Sept. 19, 2013) ............................................... 24
Cates v. All. Coal, LLC
  No. 21-CV-377-SMY, 2022 WL 4782857 (S.D. Ill. Oct. 3, 2022) .......................................... 25
Chagoya v. City of Chicago
  992 F.3d 607 (7th Cir. 2021) ................................................................................................ 7, 24
Cleary v. Philip Morris Inc.
  656 F.3d 511 (7th Cir. 2011) .................................................................................................... 28
Coon v. Doss
  361 Ill. 515 (Ill. 1935) ............................................................................................................... 22
Driver v. AppleIllinois, LLC
  917 F. Supp. 2d 793 (N.D. Ill. 2013) ........................................................................................ 17



                                                                    ii
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 4 of 36 PageID #:200




Estate of Charles W. Kent v. Vollmer
  4 Ill.2d 81 (Ill. 1954) ................................................................................................................. 22
Frlekin v. Apple Inc.
  457 P.3d 526 (Cal. 2020) .......................................................................................................... 22
Gallardo v. Scott Byron & Co.
  No. 12-CV-7202, 2014 WL 126085 (N.D. Ill. Jan. 14, 2014) .................................................. 24
Guzman v. Laredo Sys., Inc.
  2012 WL 5197792 (N.D. Ill. Oct. 19, 2012)............................................................................. 23
Haro v. Walmart, Inc.
  2023 WL 22393333 (E.D. Cal. Feb. 27, 2023) ......................................................................... 15
Harwell-Payne v. Cudahy Place Senior Living LLC
  No. Civ. A. 21-CV-328-PP, 2022 WL 6195619 (E.D. Wisc. Sept. 30, 2022) ......................... 15
Holman v. Indiana
  211 F.3d 399 (7th Cir. 2000) .................................................................................................... 28
Howard v. City of Springfield
  274 F.3d 1141 (7th Cir. 2001) .................................................................................................... 2
IBP, Inc. v. Alvarez
  546 U.S. 21 (2005) .................................................................................................................... 16
In Borne v. AAY Sec. LLC
  No. Civ. A. 1:17-CV-510, 2019 WL 5394010 (E.D. Tex. Oct. 21, 2019) ............................... 10
In re:Amazon.com, Inc.
  255 A.3d 191 (Pa. 2021) ........................................................................................................... 22
Integrity Staffing Solutions, Inc. v. Busk
  574 U.S. 27 (2014) ............................................................................................................ 6, 7, 12
Jameson Real Est., LLC v. Ahmed
  2018 IL App (1st) 171534, 129 N.E.3d 128 ............................................................................. 28
Kean v. Wal Mart Stores, Inc.
  919 N.E.2d 926 (Ill. 2009) ........................................................................................................ 18


                                                                    iii
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 5 of 36 PageID #:201




Kubiak v. City of Chicago
  810 F.3d 476 (7th Cir. 2016) ...................................................................................................... 2
Labriola v. Clinton Entertainment Management, LLC
  No. 15 C 4123, 2016 WL 1106862 (N.D. Ill. March 22, 2016) ............................................... 27
Ladegaard v. Hard Rock Concrete Cutters, Inc.
  2004 WL 1882449 (N.D. Ill. March. 23, 2003) ........................................................................ 24
Llorca v. Sheriff, Collier Cnty., Fla.
  893 F. 3d 1319 (11th Cir. 2018) ................................................................................................. 2
Malloy v. Amazon.com Services, LLC
  No. 2:22-CV-0286-ART-VCF (D. Nev.) ........................................................................ 1, 13, 14
Martinez v. Utilimap Corp.
  No. 3:14-CV-310-JPG-DGW, 2014 WL 6751832 (S.D. Ill. Nov. 24, 2014) ........................... 26
Mattis v. State Universities Retirement System
  212 Ill.2d 58 (Ill. 2004) ............................................................................................................. 17
Meadows v. NCR Corp.
  2017 WL 5192009 (N.D. Ill. Nov. 9, 2017) ............................................................................. 24
Michael Reese Hosp. & Med. Ctr. v. Chi. HMO, Ltd.
  554 N.E.2d 472 (Ill.App.Ct.1990) ............................................................................................ 27
Mitchell v. JCG Industries, Inc.
  745 F.3d 837 (7th Cir. 2014) ............................................................................................. passim
Mooney v. Wyndham Worldwide Operations, Inc.
  2014 WL 2959270 (N.D. Ill. July 1, 2014) ............................................................................... 27
O’Brien v. Encotech Constr.
  2004 WL 609798 (N.D. Ill. March 23, 2004) ........................................................................... 24
People ex rel. Madigan v. Illinois Com. Comm’n
  231 Ill. 2d 370 (2008) ............................................................................................................... 19
Perez v. Walmart, Inc.
  2021 WL 5741484 (E.D. Mo. Oct. 25, 2021) ........................................................................... 15


                                                                   iv
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 6 of 36 PageID #:202




Pietrzycki v. Heights Tower Service, Inc.
  290 F. Supp. 3d 822 (N.D. Ill. November 29, 2017) ................................................................ 20
Pipich v. O’Reilly Auto Enterprises, LLC
  2022 WL 788671 (S.D. Cal. Mar. 15, 2022) ............................................................................ 15
Pizano v. Big Top & Party Rentals, LLC
  2017 WL 1344526 (N.D. Ill. Apr. 12, 2017) ............................................................................ 24
Rix v. UPS
  2007 WL 9813347 (N.D. Ill. Apr. 24, 2007) ............................................................................ 23
Roberts v. State of Arizona
  512 P.3d 1007 (Ariz. 2022)....................................................................................................... 22
Sanford v. Preferred Staffing Inc.
  447 F. Supp. 3d 752 (E.D. Wis. 2020) ........................................................................................ 3
Scott v. Raudin McCormick, Inc.
  No. Civ. A. 08-4045-EFM, 2009 WL 3561301 (D. Kan. Oct. 30, 2009) ................................. 10
Sehie v. City of Aurora
  432 F.3d 749 (7th Cir. 2005) ........................................................................................ 10, 11, 13
Silverman v. City Engineering Const. Co.
  228 Ill. 154 (Ill. 1930) ............................................................................................................... 22
Spoerle v. Kraft Foods Global, Inc.
  614 F.3d 427 (7th Cir. 2010) .................................................................................................... 17
Steger v. Life Time Fitness, Inc.
  2015 WL 5307708 (N.D. Ill. Sept. 10, 2015) ........................................................................... 26
Steiner v. Mitchell
  350 U.S. 247 (1956) ........................................................................................................... passim
Sup v. Cervenka
  331 Ill. 459, 163 N.E. 396 (1928) ............................................................................................. 22
Vaccaro v. Amazon.com.dedc, LLC
  No Civ. A. 18-11852, 2021 WL 1022699 (D.J.J. March 17, 2021) ............................... 1, 13, 14


                                                                    v
     Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 7 of 36 PageID #:203




Wagner v. Air Methods Corporation
   539 F. Supp. 3d 1157 (D. Colo. 2021) .......................................................................... 18, 21, 23

Statutes
29 U.S.C § 256 .............................................................................................................................. 25
29 U.S.C. § 203(o) ........................................................................................................................ 25
29 U.S.C. § 254(a) ........................................................................................................................ 25
29 U.S.C. § 259(a) ........................................................................................................................ 25
29 U.S.C. §§ 206, 207, 216(b) ........................................................................................................ 2
29 U.S.C. §255 .............................................................................................................................. 25
29 U.S.C. §260 .............................................................................................................................. 25
820 ILCS 104/4a ........................................................................................................................... 22

Other Authorities
29 C.F.R. § 778.223 ...................................................................................................................... 18
29 C.F.R. § 785.7 .......................................................................................................................... 20
29 C.F.R. § 790.6(b) ..................................................................................................................... 16
29 C.F.R. § 790.7(h) (1999) ............................................................................................................ 2
29 CFR § 785.43 ....................................................................................................................... 9, 10
29 CFR §790.2(a) n.8.................................................................................................................... 20
93 Cong. Rec. 2098 ....................................................................................................................... 20
Ill. Admin. Code
   tit. 56, § 210.110 ....................................................................................................................... 18
Wage & Hour Div. Opinion Letter
   1989 WL 1595239 (Aug. 2, 1989) ........................................................................................ 9, 10
Wage & Hour Div. Opinion Letter
   1997 WL 998039 (Dec. 15, 1997) ........................................................................................ 9, 10
Wage & Hour Div. Opinion Letter
   1997 WL 998042 (Oct. 7, 1997) ................................................................................................. 9



                                                                      vi
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 8 of 36 PageID #:204




Wage & Hour Div. Opinion Letter
  1998 WL 852652 (Jan. 26, 1998) ......................................................................................... 9, 10
Wage & Hour Div. Opinion Letter
  2001 WL 1558768 (Feb. 16, 2001)............................................................................................. 9




                                                             vii
     Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 9 of 36 PageID #:205




I.      INTRODUCTION

        In response to the COVID-19 pandemic, Amazon instituted a company-wide policy

requiring each of its hourly paid warehouse employees to complete a COVID-19 screening prior

to clocking-in each shift. Under this policy, employees were required to wait in line, answer

questions about their health, and undergo a health screening without pay. The screenings were

required by Amazon as a condition to work each day and occurred on Amazon’s premises.

Plaintiffs’ Second Amended Complaint alleges Amazon’s failure to pay for this work time violates

the Fair Labor Standards Act (“FLSA”) because these required COVID-19 screenings were

primarily for Amazon’s benefit and were “integral and indispensable” to the Plaintiffs’ work for

Amazon, and violate the Illinois Minimum Wage Law (“IMWL”) because they took place on

Amazon’s premises under Amazon’s control. Plaintiffs also allege that Amazon’s failure to pay

for this work time violates the Illinois Wage Payment and Collection Act (“IWPCA”), or

alternatively gives rise to a claim for quantum meruit.

        Amazon’s Motion to Dismiss Plaintiffs’ FLSA claims have no merit. Its arguments have

been rejected by every court to have considered them.1 Amazon’s arguments with regard to

Plaintiffs’ IMWL claims likewise fail. Amazon ignores both the text of the IMWL – which does

not incorporate the FLSA’s Portal to Portal Act provisions – and disregards controlling Seventh

Circuit authority that the federal Portal Act provisions relating to the compensability of preliminary

and postliminary time are not lock step with different Illinois state law. As explained below,

Amazon’s arguments with regard to Plaintiffs’ IWPCA and quantum meruit claims fare no better.




1
  Malloy v. Amazon.com Services, LLC, No. 2:22-CV-0286-ART-VCF (D. Nev.), Exhibit 1, Tr. of
Proceedings, (2) Boone v. Amazon.com Services, LLC, 562 F. Supp. 3d 1103, 1116-17 (E.D. Cal. 2022);
and (3) Vaccaro v. Amazon.com.dedc, LLC, No Civ. A. 18-11852, 2021 WL 1022699 (D.J.J. March 17,
2021).


                                                  1
      Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 10 of 36 PageID #:206




II.      ARGUMENT

         A.     Applicable Legal Standard

         In considering a Rule 12(b)(6) motion, the court accepts as true all well-pleaded facts in

the plaintiff’s complaint and draws all reasonable inferences from those facts in the plaintiff’s

favor. Kubiak v. City of Chicago, 810 F.3d 476, 480-81 (7th Cir. 2016). If a complaint alleges

“enough facts to state a claim to relief that is plausible on its face,” a motion to dismiss should be

denied. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

         B.      Plaintiffs’ FLSA Claims Plausibly State a Claim

                1.     Plaintiffs have pled sufficient facts that the time spent in the COVID-
                       19 screenings is “integral and indispensable” to their principal work
                       activities
         The FLSA is “designed to protect workers from the twin evils of excessive work hours and

substandard wages.” Howard v. City of Springfield, 274 F.3d 1141, 1148 (7th Cir. 2001). To

advance that goal, the statute requires payment of minimum wages and overtime pay, and gives

employees deprived of these payments the right to receive them. See generally 29 U.S.C. §§ 206,

207, 216(b). The Supreme Court has stated that activities performed by an employee “before or

after the regular work shift” are “an integral and indispensable part of the principal activities” of

the employee and must be compensated. Steiner v. Mitchell, 350 U.S. 247, 253 (1956).

         Whether an activity is “integral and indispensable” is “fact-intensive” and “not amenable

to bright-line rules.” Llorca v. Sheriff, Collier Cnty., Fla., 893 F. 3d 1319, 1324 (11th Cir. 2018)

(emphasis added); 29 C.F.R. § 790.7(h) (1999) (“[A]n activity which is a ‘preliminary’ or

‘postliminary’ activity under one set of circumstances may be a principal activity under other

conditions.”). Courts have consistently required employees to be compensated for the following

activities: “undergoing security screenings, receiving preshift briefings, and managing necessary

equipment” prior to the start of their shifts or after the end of their shifts. Sanford v. Preferred


                                                  2
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 11 of 36 PageID #:207




Staffing Inc., 447 F. Supp. 3d 752, 755 (E.D. Wis. 2020) (collecting cases) (emphasis added).

Here, the COVID-19 screenings are compensable because they (1) were required by Amazon each

shift, (2) Amazon employees were required to pass the screening as a condition to work each day,

and (3) the screenings were designed so that Amazon employees could perform their work each

day, ensuring that Amazon could make billions in profits.

       The seminal case explaining which activities are compensable under the FLSA is Steiner

v. Mitchell, 350 U.S. 247 (1956), where the employer operated a plant where batteries were

manufactured. Id. at 249. During the manufacturing process, chemicals used in the plant spilled,

dropped, or became part of the dust in the air. Id. These dangerous chemicals attached to the skin,

clothing, and hair of the employees. Id. at 250. To protect the workers and their families, the

workers were required to shower at the end of their shifts. Id. The Supreme Court held that the

time spent showering by the workers was directly related to the workers’ principal activities by

making the “plant as safe a place as is possible under the circumstances and thereby increase the

efficiency of its operation.” Id. at 251-252. Therefore, the Supreme Court held that the time spent

showering at the end of the shifts was compensable under the FLSA. Id. at 256. The Supreme

Court stated as follows:

       We find no difficulty in fitting the facts of this case to that conclusion because it
       would be difficult to conjure up an instance where changing clothes and showering
       are more clearly an integral and indispensable part of the principal activity of
       the employment than in the case of these employees.

Id. (emphasis added).

       Just like in Steiner, the COVID-19 screenings were integral and indispensable to the

principal activities of the Plaintiffs because the screenings were (1) designed to make the

workplace as safe as possible and thereby increase the efficiency of Amazon’s operations, (2) were

for the safety of the workers and their families, (3) without the screenings, the Plaintiffs and Class



                                                  3
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 12 of 36 PageID #:208




Members (and their families) would get sick, and (4) sick workers would be unable to perform

their work for Amazon.

       Specifically, the Plaintiffs plead the following facts in their Second Amended Complaint

(“SAC”) which, taken as true, more than establish that the COVID-19 screenings were “integral

and indispensable” to the work performed by the Plaintiffs.

       ¶ 47 Indeed, Amazon required Plaintiffs and the Class Members to undergo this screening
       for the purposes of overall safety in the Amazon facilities and to prevent Plaintiffs and the
       Class Members from inadvertently and unintentionally infecting the Amazon facilities or
       Amazon products, and in turn, Amazon’s customers. Likewise, the job duty of Plaintiffs
       and the Class Members was to serve the customers of Amazon and the screening was
       necessary to ensure that Plaintiffs and the Class Members safely provide that service to
       Amazon’s customers.

       ¶ 48 The COVID-19 examinations were necessary to ensure that the virus did not infect
       the Amazon facilities or customers. The examinations were also necessary to ensure that
       the virus did not disrupt the work performed by Plaintiffs and the Class Members or affect
       the business operations of Amazon. If Amazon did not have the COVID-19 screening,
       workers could inadvertently or unintentionally bring the virus into the Amazon facilities
       causing a mass breakout of the virus infecting hundreds to thousands of other workers of
       Amazon. Plaintiffs and the Class Members could not perform their work for Amazon if
       there was a mass breakout of the virus at the Amazon facilities. Furthermore, the COVID-
       19 virus directly affects the health of workers. If Plaintiffs and the Class Members became
       infected with the virus, their health would suffer. Symptoms of the virus include fatigue,
       lack of strength, coughing, headaches, and other symptoms. Plaintiffs and the Class
       Members could not perform their work for Amazon if they were infected with the virus.

       ¶ 49 Moreover, the COVID-19 screenings were integral and indispensable to the principal
       activity and primary job duty performed by Plaintiffs and the Class Members, which was
       to serve and assist Amazon customers receiving their purchased items. The COVID-19
       screenings were necessary for Plaintiffs and Class Members to perform their primary job
       duty for Amazon. If Amazon cancelled the COVID-19 screenings, the Amazon facilities
       could get contaminated with the virus, the items that Amazon sold could get contaminated
       with the virus, the customers could get infected, and other employees of Amazon could get
       infected. In that event, Amazon’s business would be disrupted, and Plaintiffs and Class
       Members would not be able to do their work. Therefore, the COVID-19 screenings were
       necessary to ensure that Plaintiffs and Class Members could do their jobs for Amazon.

       ¶ 50 The COVID-19 screenings were also integral and indispensable to the principal
       activity and primary job duty performed by Plaintiffs and the Class Members because the
       COVID-19 screenings were necessary to ensure that Amazon workers could perform their
       work safely, to prevent contamination from the virus, and to keep the customers of Amazon



                                                4
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 13 of 36 PageID #:209




        safe. If employees became infected with the virus, they would not be able to provide their
        services to Amazon. Moreover, if Amazon customers received packages that were infected
        with the virus, the customers would likely no longer use Amazon’s services.

        ¶ 51 Thus, the COVID-19 screenings were necessary for the Plaintiffs and Class Members
        to do their work for Amazon and without the screenings, their ability to do their jobs would
        have been compromised. Plaintiffs and the Class Members could not skip the screenings
        altogether without the safety or effectiveness of their principal activities being substantially
        impaired. The screenings prevented the COVID-19 virus from spreading through
        Amazon’s facilities and infecting employees and products, thereby allowing Amazon
        employees to continue to work.

(Dkt. 16 at p. 9-10).

        These allegations establish that the time spent in the COVID-19 screenings are “integral”

and “indispensable.” (See id.) Plaintiffs plead that the COVID-19 screenings are “integral” to their

principal activities because the “job duty of Plaintiffs and the Class Members was to serve the

customers of Amazon and the screening was necessary to ensure that Plaintiffs and the Class

Members safely provide that service to Amazon’s customers.” (Id. at ¶ 47). Indeed, “[i]f

employees became infected with the virus, they would not be able to provide their services to

Amazon.” (Id. at ¶ 50). “Symptoms of the virus include fatigue, lack of strength, coughing,

headaches, and other symptoms. Plaintiffs and the Class Members could not perform their work

for Amazon if they were infected with the virus.” (Id. ¶ 48). The facts pled by the Plaintiffs are

nearly identical to the facts in Steiner.

        Similarly, the facts pled by Plaintiffs establish that the COVID-19 screenings were

“indispensable” because “[i]f Amazon did not have the COVID-19 screening, workers could

inadvertently or unintentionally bring the virus into the Amazon facilities causing a mass breakout

of the virus infecting hundreds to thousands of other workers of Amazon. Plaintiffs and the Class

Members could not perform their work for Amazon” in that event. (Id.) Indeed, “[i]f employees

became infected with the virus, they would not be able to provide their services to Amazon.” (Id.




                                                   5
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 14 of 36 PageID #:210




¶ 48). Amazon concedes these facts. (See, e.g., Dkt. 22 at p. 2 stating “a healthy workforce []

allowed Amazon to continue its operations.”). These facts are nearly identical to those in Steiner.

        Amazon tries to distinguish Steiner by stating that the “changing of clothes and showering”

by the workers in Steiner “were intrinsic parts of the principal activity of producing batteries.”

(Dkt. 22 at p. 10). If anything, Amazon’s argument supports Plaintiffs’ position. If taking showers

and changing clothes is “intrinsic” to manufacturing batteries on an assembly line, then completing

mandatory health screenings to ensure that employees are physically able to perform their lifting,

stacking, and loading duties, is likewise “intrinsic” to their job and is likewise compensable.

        In the Second Amended Complaint, Plaintiffs plead that the COVID-19 screenings were

necessary to ensure that Amazon workers could perform their job. (See Dkt. 16 at ¶¶ 47-51). In

simpler terms, the Plaintiffs gathered packages to be delivered to Amazon customers. (Id. at ¶¶ 27,

29, 50). If Plaintiffs contracted COVID-19 or those packages were contaminated by COVID-19,

the Plaintiffs could not perform their work. (See id. at ¶ 48). Likewise, if an Amazon employee

became infected with COVID-19 and spread the virus to other workers, Plaintiffs could not provide

their services to Amazon’s customers. (See id.) “Plaintiffs and the Class Members could not skip

the screenings altogether without the safety and effectiveness of their principal activities being

impaired.” (Id. at ¶ 51) (emphasis added). Again, these facts demonstrate that the COVID-19

screenings were necessary for the Plaintiffs to perform their work and thus, “integral and

indispensable” to the Plaintiffs’ principal activities.

        Amazon’s opposition relies almost exclusively on Integrity Staffing Solutions, Inc. v. Busk,

574 U.S. 27 (2014). However, that reliance is misplaced. In Busk, the plaintiffs were warehouse

workers who retrieved packages from shelves. Busk, 574 U.S. at 29-30. After their shifts had

concluded, the workers underwent an exit screening so the employer could identify if any theft




                                                   6
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 15 of 36 PageID #:211




occurred. Id. Although the Supreme Court held that the time spent in the exit screening was not

compensable, the Supreme Court did not state that such a screening can never be compensable.

Instead, the Court made clear that the screening must be tied to the “productive work that the

employee is employed to perform.” Id. at 36. In Busk, the exit screening did not have anything to

do with the workers’ ability to do their jobs and the workers were able to do their jobs even if the

screenings were eliminated. See Id. The Court stated that the company “could have eliminated the

screenings altogether without impairing the employees’ ability to complete their work.” 574 U.S.

at 35. In this case, however, the COVID-19 screenings were necessary for Plaintiffs to perform

their work for Amazon and had the screenings been eliminated, Plaintiffs’ ability to perform their

jobs would have been compromised. (Dkt. 16 at ¶¶ 47-51).2

        The Busk decision was issued nearly 10 years ago, and since then numerous courts have

distinguished Busk and found pre-shift activities to be compensable under the FLSA. For instance,

in Aguilar v. Mgmt & Training Corp., 948 F.3d 1270 (10th Cir. 2020), the court held that pre-shift

security screenings were compensable under the FLSA and found that Busk did not apply. In

Aguilar, a group of correctional officers brought a claim for unpaid wages. Id. at 1274. The

plaintiffs argued that the time spent completing mandatory security screenings (prior to clocking

in) was compensable under the FLSA. Id. at 1274-75. The Tenth Circuit agreed and found that

this time was “integral and indispensable” to the correctional officers’ principal activities in

ensuring the safety of the prisons. Id. at 1278-79. Specifically, the Aguilar Court found the security



2
  Amazon also cites to Chagoya v. City of Chicago, 992 F.3d 607 (7th Cir. 2021). However, Chagoya is
not relevant to this case because it involved a group of police officers who sought compensation for the
time they spent unloading equipment at their homes. Id. Chagoya is easily distinguishable on the facts.
Chagoya did not involve a claim for compensation for pre-shift health screenings that (1) were performed
on the premises of the employer, (2) were required by the employer, and (3) were made a condition to work
for the employer each day. Applying the Rule 12 standard, those facts are currently undisputed. And, those
facts did not exist in Chagoya.


                                                    7
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 16 of 36 PageID #:212




screenings to be an intrinsic element of the correctional officers’ principal activities in providing

safety and security at the prisons and was directly tied to the “productive work that the employee

is employed to perform.” Id. at 1277-78. The Tenth Circuit further explained that if the security

screenings were eliminated entirely, the correctional officers’ work would be impaired. Id. at 1279.

This demonstrated that the security screenings were indispensable to the correctional officers’

principal activity. Id.

        The facts in Aguilar support Plaintiffs’ position that the COVID-19 screenings are

compensable. Here, the COVID-19 screenings were necessary to ensure that the Plaintiffs could

perform their work. If Amazon eliminated the COVID-19 screenings, the work of the Plaintiffs

would be greatly impaired because workers could inadvertently or unintentionally bring the virus

into the Amazon facilities causing a mass breakout and infecting other workers. (Dkt. 16 at ¶¶ 47-

51). This would lead to a disruption in the operations and would prevent Plaintiffs from

performing their work. (Id.) Accepting these facts as true states a viable claim that the COVID-

19 screenings are compensable under the FLSA.

        Amazon argues that “Plaintiffs still would have been able to move, stack, and load boxes

had Amazon eliminated” the COVID-19 screenings. (Dkt. 22 at p. 7). There are simply no facts or

evidence to support this statement. COVID-19 causes fatigue, muscle aches, makes it difficult to

breath, nausea and other conditions.3 If Amazon employees had these symptoms, they would be

unable to perform the physical tasks of “mov[ing], stack[ing], and load[ing] boxes,” which was

their primary job for Amazon. Amazon claims that Plaintiffs “do not demonstrate that Plaintiffs

would have been incapable of completing the specific duties that they were hired to perform”

without the COVID-19 screenings. (Id. at p. 7-8). It is unclear why Amazon has made this


3
 https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html (last visited April 9,
2023).


                                                 8
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 17 of 36 PageID #:213




argument because that is precisely what Plaintiffs have pled. (See Dkt. 16 at ¶¶ 47-51). If the Court

accepts Plaintiffs’ allegations as true, the Court has no choice but to deny Amazon’s Motion.

       Finally, Amazon argues that “[c]ountless activities can help ensure one’s general ability to

work—like eating properly” or “sleeping enough” and therefore, the COVID-19 screenings should

be found to be not compensable as a matter of law. (Dkt. 22 at p. 8). This argument from Amazon

is odd. Unlike “eating properly” or “sleeping enough,” the COVID-19 screenings were (1) made

mandatory by Amazon, (2) Plaintiffs had to complete the screenings on the premises of Amazon,

(3) Plaintiffs had to complete the screenings under the threat of discipline, (4) Plaintiffs only

completed the screenings at the direction of Amazon, and (5) Plaintiffs had to pass the screenings

as a requirement to work each day. (See Dkt. 16 at ¶¶ 42-45). Getting enough sleep or eating

healthy do not constitute “work” under the FLSA. Amazon’s Motion should be denied.

               2.      The U.S. Department of Labor has issued authority providing that the
                       time spent in health examinations, like the COVID-19 screenings, is
                       compensable under the FLSA
       United States Department of Labor (“DOL”) regulatory guidance provides that the time

spent in physical, medical, and health examinations, like the COVID-19 screenings, is

compensable work time. See, e.g., 29 CFR § 785.43. The DOL has issued multiple opinion letters

providing that physical and health examinations required by an employer as a work condition are

compensable under the FLSA. See, e.g., Wage & Hour Div. Opinion Letter, 1989 WL 1595239

(Aug. 2, 1989); Wage & Hour Div. Opinion Letter, 1997 WL 998042 (Oct. 7, 1997); Wage &

Hour Div. Opinion Letter, 1997 WL 998039 (Dec. 15, 1997); Wage & Hour Div. Opinion Letter,

1998 WL 852652 (Jan. 26, 1998); Wage & Hour Div. Opinion Letter, 2001 WL 1558768 (Feb.

16, 2001).4


4
 Courts have relied upon this guidance and found that medical examinations required by the employer
constitute compensable time. See, e.g., Scott v. Raudin McCormick, Inc., No. Civ. A. 08-4045-EFM, 2009


                                                  9
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 18 of 36 PageID #:214




         Significantly, the 1989 Opinion Letter states that “whenever an employer imposes special

requirements or conditions that an employee must meet before commencing productive work, the

time spent in fulfilling such special conditions is regarded as indispensable to the performance of

the principal activity the employee is hired to perform.” 1989 WL 1595239, at *1 (emphasis

added). There can be no reasonable dispute that the COVID-19 screenings satisfy this requirement.

         The DOL has further explained:

         Time spent undergoing a physical examination is time during which the employee’s
         freedom of movement is restricted for the purpose of serving the employer and time
         during which the employee is subject to the employer’s discretion and control. It is
         immaterial whether the time spent in undergoing the required physical examination
         is during the employee’s normal working hours or during nonworking hours. The
         physical examination is an essential requirement of the job and thus primarily for
         the benefit of the employer. Therefore, it is our opinion that the time so spent
         must be counted as hours worked under the FLSA.

1998 WL 852652, at *1 (emphasis added).

         Amazon has largely ignored this authority. Instead, Amazon argues that 29 C.F.R. §

785.43 is not applicable because the screenings did not occur “during normal working hours.”

(Dkt. 22 at p. 5 fn. 2). However, Amazon’s argument was specifically rejected by the Seventh

Circuit in Sehie v. City of Aurora wherein the Seventh Circuit stated that “[w]e disagree with [the

employer’s] rigid reading of the regulation.” Sehie v. City of Aurora, 432 F.3d 749, 752 (7th Cir.

2005).

         In Sehie, the Seventh Circuit addressed the issue of whether a health examination required

by an employer as a condition to work is compensable under the FLSA. Id. at 751-53. In Sehie,

the plaintiff worked as an emergency dispatcher whose primary job duty was to field 911 calls. Id.

at 750. The employer required the plaintiff to undergo a psychotherapy evaluation as a condition



WL 3561301, at *12 (D. Kan. Oct. 30, 2009); In Borne v. AAY Sec. LLC, No. Civ. A. 1:17-CV-510, 2019
WL 5394010, at *5 (E.D. Tex. Oct. 21, 2019).


                                                 10
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 19 of 36 PageID #:215




of her employment. Id. The employer argued that such time attending the health sessions was not

compensable under the FLSA. Id. The Seventh Circuit rejected the employer’s arguments and

stated as follows:

        the DOL has also issued opinions concluding that when an employer requires an
        employee to attend physical or mental examinations, including psychiatric
        examinations, during non-working hours as a condition of continued employment,
        the time spent undergoing such examinations constitutes “hours worked” and is
        therefore compensable under the FLSA.

Id. at 753. The Seventh Circuit stated further.

        the purpose of the required counseling sessions was to enable Sehie to perform her
        job duties and relate to co-workers more effectively and at a higher skill level…
        and in doing so to ensure that Sehie properly responded to emergency calls and
        stayed on the job in a position that was short-staffed.

Id. at 752.

        The facts in Sehie are very similar to the facts in the present case. Like in Sehie, Plaintiffs

were required to undergo a health examination as a condition to work for Amazon each day. These

examinations were designed so that Plaintiffs could continue to perform their job duties and that

Amazon could continue to operate. Like in Sehie, the time spent by the Plaintiffs in the COVID-

19 screenings is compensable.

        Amazon argues that the COVID-19 screenings are not a physical, medical, or health

examination referenced by the DOL. (See Dkt. 22 at p. 6). Amazon is wrong. Plaintiffs allege that

during the screenings they (1) had their temperature taken to determine if they had a fever, (2)

answered questions about their health to determine whether they had the signs and symptoms of

COVID-19, (3) wore a face mask to prevent the spread of the virus, and (4) had to pass this health

screening to be deemed fit to work. (See Dkt. 16 at ¶ 38). These facts demonstrate that the

screenings constitute a health examination and/or medical attention.




                                                  11
      Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 20 of 36 PageID #:216




          Amazon further argues that the DOL opinion letter regarding the “rocket-powder plant”

cited in Busk is applicable to this case. (Dkt. 22 at p. 10).5 See Busk, 574 U.S. at 35-6. The

screenings at the powder plant involved a pre-shift security search of employees for “matches”

and “cigarette lighters,” and a post-shift security search of the employees “for the purpose of

preventing theft.” Id. Those screenings are distinguishable because they are not health

examinations, and they have nothing to do with the workers’ ability to physically perform their

work. For instance, if an employee brought a lighter to work at the plant, he could still perform

his job. However, if an Amazon employee arrived at work suffering the effects of the virus,

there is no way he could perform his work that day.

          Finally, if there was any doubt, the DOL issued guidance specific to COVID-19 screenings

and stated as follows:

          your employer is required to pay you for all hours that you work, including for time
          before you begin your normal working hours if the task that you are required to
          perform is necessary for the work you do. For many employees, undergoing a
          temperature check before they begin work must be paid because it is necessary
          for their jobs.

See Exhibit 2, at 4 (emphasis added), also found at

https://www.dol.gov/agencies/whd/flsa/pandemic (last visited April 10, 2023).

          Under the DOL’s guidance, the time spent by Plaintiffs completing the COVID-19

screenings is compensable.

                  3.      Amazon’s Motion to Dismiss should be denied because the facts pled
                          by the Plaintiffs establish that Amazon primarily benefited from the
                          COVID-19 screenings.
          Amazon argues that the COVID-19 screenings were not “necessarily and primarily for the

benefit” of Amazon but for Plaintiffs and the communities at large. (Dkt. 22 at p. 11). Under both



5
    The DOL issued that opinion letter in 1951.


                                                  12
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 21 of 36 PageID #:217




the Steiner and Sehie decisions, Amazon is again wrong. In Steiner, the Supreme Court determined

that the time spent showering by the workers at the end of their shifts directly benefited the

employer by making the “plant as safe a place as is possible under the circumstances and thereby

increase the efficiency of its operation.” Id. at 251-252. Similarly, in Sehie, the counseling sessions

were found to be primarily for the employer’s benefit because the sessions were to “enable Sehie

to perform her job duties and relate to co-workers more effectively and at a higher skill.” Sehie,

432 F.3d at. 752. The counseling sessions also enabled her to “stay on the job” so that the company

would not be short staffed. Id. The Seventh Circuit held that “[t]hese reasons all primarily benefit

[the employer].” Id. Like in Steiner and Sehie, the COVID-19 screenings necessarily and primarily

benefitted Amazon. (See Dkt. 16 at ¶¶ 52-54).6

          Amazon argues that Plaintiffs were the primary beneficiaries because the “benefit of

screenings was reducing the risk of death or illness from COVID-19.” (Dkt. 22 at p. 12). Every

other court has rejected Amazon’s same arguments. Boone v. Amazon.com Services, LLC, 562 F.

Supp. 3d 1103, 1116-17 (E.D. Cal. 2022); Vaccaro v. Amazon.com.dedc, LLC, No. Civ. A. 18-

11852, 2021 WL 1022699 (D.J.J. Mar. 17, 2021); Malloy v. Amazon.com Services, LLC, No. 2:22-

CV-0286-ART-VCF (D. Nev.), Exhibit 1, Tr. of Proceedings. In particular, in Boone, the court

stated:

          plaintiffs have sufficiently alleged that the COVID-19 screening policy primarily
          benefits defendant. The court is not persuaded by defendant’s argument that it is
          only an incidental beneficiary of the screenings because every other member of the
          community likewise benefits from the prevention of infection. (Doc. No. 30 at 9–
          10)… if Amazon facilities suffered an infection outbreak, defendant would
          potentially have to find new employees or shut down its warehouse until it was safe
          to open again. Such an outbreak would harm defendant Amazon directly and to a
          greater extent than the general public. Given this alleged substantial risk to
          defendant and its business operations, it is plausibly alleged that it is defendant
          who primarily benefits from its decision to mitigate that risk by implementing

6
     Amazon’s    profits   skyrocketed    220%    during     the     COVID-19         pandemic.     See
https://www.nytimes.com/2021/04/29/technology/amazons-profits-triple.html, last visited April 9, 2023.


                                                  13
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 22 of 36 PageID #:218




       the mandatory COVID-19 screening policy.

Boone, 562 F. Supp. 3d at 1117 (emphasis added).

       It is unclear why Amazon has even argued that the COVID-19 screenings were not for

Amazon’s benefit. Amazon concedes that it “could continue to use its workforce only if Plaintiffs

and their co-workers first remained free of COVID-19.” (Dkt. 22 at p. 12). In other words, Amazon

admits that if its employees contracted the virus, Amazon could not continue to operate its

business. (See id.)   Having business operations continue without interruption undoubtedly

increases the profits of Amazon. Likewise, having employees who are healthy and able to perform

the work ensures that Amazon can operate efficiently, and thereby, earn profits. Indeed, Amazon’s

profits skyrocketed 220% during the pandemic, as noted earlier. Under these facts, the COVID-19

screenings were primarily for the benefit of Amazon.

               4.     To date, every federal court to have considered Amazon’s Arguments
                      Have Allowed the Claims to Advance Past the Pleading Stage
       Amazon wrongly claims that “nearly every court that has considered a motion to dismiss

an employee’s FLSA claim based on COVID-19 screening time has granted the motion.” (Dkt. 22

at p. 8). First, every court that has analyzed Amazon’s own arguments regarding the FLSA

compensability of COVID-19 screenings has rejected Amazon’s arguments to dismiss the claim

at the pleading stage. See Boone, 562 F. Supp. 3d 1103; Vaccaro, 2021 WL 1022699; Ex. 1, Malloy

v. Amazon.com Services, LLC, No. 2:22-CV-0286-ART-VCF (D. Nev.), Tr. of Proceedings. Other

courts have reached the same conclusion. See, e.g., Harwell-Payne v. Cudahy Place Senior Living

LLC, No. Civ. A. 21-CV-328-PP, 2022 WL 6195619 (E.D. Wisc. Sept. 30, 2022) (denying the

employer’s motion to dismiss FLSA claim seeking compensation for the time spent in COVID-19

screenings).




                                               14
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 23 of 36 PageID #:219




          Second, the cases cited by Amazon are distinguishable from the facts of this case.

Amazon’s reliance on Perez v. Walmart, Inc., 2021 WL 5741484 (E.D. Mo. Oct. 25, 2021) is

misplaced because in Perez, the plaintiffs did not bring a claim under the FLSA, they brought a

claim under the Missouri common law for unjust enrichment. Amazon also failed to disclose that

there is another case against Walmart under the FLSA seeking compensation for COVID-19

screening time. That case is Haro v. Walmart and plaintiffs recently obtained certification of a

national class against Walmart under the FLSA.7 See Haro v. Walmart, Inc., 2023 WL 22393333

(E.D. Cal. Feb. 27, 2023) (granting conditional certification under FLSA for COVID-19 screening

claim).

          Amazon also cites a trio of decisions from the Federal Court of Claims where correctional

officers employed by the federal government sought compensation for the time spent going

through security screenings each morning. See Dkt. 22 at p. 8-9, citing Adegbite, 156 Fed. Cl. 495;

Adair, 2021 WL 6163407; Alvarez, 2021 WL 6163405. These cases are not on point because it

appears that plaintiffs simply abandoned their claims for compensation for the COVID-19

screenings because their primary claim was for compensation for the security screenings. See id.

If anything, these cases hurt Amazon’s argument because in each case, the court held that there

was a viable claim under the FLSA for the time spent going through the pre-shift security

screenings, which was largely akin to walking through a metal detector. See id.




7
  Amazon also cites to Pipich v. O’Reilly Auto Enterprises, LLC, 2022 WL 788671 (S.D. Cal. Mar. 15,
2022), however, Amazon’s reliance on this decision is misleading. In Pipich, the plaintiff failed to plead
sufficient facts explaining how the COVID-19 screenings were integral and indispensable to his principal
activity. The plaintiff did not describe any set of facts that would lead to the conclusion that if the COVID-
19 screenings were eliminated, the plaintiff’s ability to do his job would be affected. Also, the plaintiff’s
job was different than the work performed by Amazon employees in warehouses that have hundreds of
employees in close proximity to one another. Accordingly, the Pipich case is distinguishable from the facts
of this case.


                                                     15
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 24 of 36 PageID #:220




        Finally, Amazon’s efforts to distinguish the Boone decision fall flat. The Boone decision

presents facts that are identical to those in this case. In Boone, the court carefully considered both

sides’ arguments and wrote a detailed analysis as to why the claim for compensation for COVID-

19 screenings is viable under the FLSA. Amazon has not presented any valid argument to the

contrary. For these reasons, Amazon’s Motion to Dismiss must be denied.8

        C.         Plaintiffs Plausibly Allege a Claim Under the IMWL

        The fundamental error in Amazon's argument to dismiss the IMWL is its presumption that

Illinois law incorporates the provisions of the federal Portal-to-Portal Act. It does not, as the 7th

Circuit held in Mitchell v. JCG Industries, Inc., 745 F.3d 837, 838 (7th Cir. 2014). This

dissimilarity between the FLSA and IMWL is unsurprising, as Congress expressly permitted states

to enact laws that provide employees with more generous rights to minimum and overtime wages.

29 U.S.C. § 218(a); Spoerle v. Kraft Foods Global, Inc., 614 F.3d 427, 429 (7th Cir. 2010). And

although the FLSA and the IMWL are similar, they are not identical. “Where the IMWL and FLSA

differ, they must be interpreted differently.” Driver v. AppleIllinois, LLC, 917 F. Supp. 2d 793,



8
  In footnote 8 in Amazon’s Motion, it claims that any time spent walking from the screening area to the
time clock should also be dismissed. (Dkt. 22 at p. 11 fn. 8). Amazon provides little analysis for this
argument. If the Court finds that there is a viable claim for compensation for the time spent in the COVID-
19 screenings, then the time spent walking from the screening area to the time clocks is also compensable.
Amazon’s argument ignores the “continuous workday” rule. The continuous workday rule provides that
once the first compensable activity is performed, then all subsequent activities are compensable regardless
of the amount of time each specific activity takes and the Portal-to-Portal Act exclusions do not apply. See
29 C.F.R. § 790.6(b); IBP, Inc. v. Alvarez, 546 U.S. 21, 37 (2005). The continuous workday rule requires
compensation from the start of the first compensable activity to the last compensable activity. See id.; see
also Aguilar, 948 F.3d at 1279 (collecting cases). Thus, the Plaintiffs are entitled to compensation for the
activities performed after their first principal act and before their last principal act of each shift. Id. In IBP,
Inc. v. Alvarez, the Supreme Court explicitly held that walking time which occurs after the performance of
an employee’s first principal activity of the day is compensable under the FLSA because it is part of the
continuous workday. IBP, Inc., 546 U.S. at 37 (“during a continuous workday, any walking time that occurs
after the beginning of the employee’s first principal activity and before the end of the employee’s last
principal activity. . . is covered by the FLSA”) (emphasis added). Given that the time spent undergoing the
COVID-19 screenings is compensable, then all activities that occur afterward are compensable.



                                                       16
    Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 25 of 36 PageID #:221




799 (N.D. Ill. 2013). Because differences exist between the FLSA and the IMWL, it is possible

for an employer to be liable under the IMWL, but not the FLSA. Mitchell v. JCG Industries, Inc.,

745 F.3d 837, 838 (7th Cir. 2014). Of course, it is also possible for an employer to be liable under

both.

                  1. Under the IMWL, Hours Worked Includes All Time the Employee is
                     Required to Be on the Employer’s Premises
        The issue before the Court on Plaintiffs’ IMWL claim is a straightforward question of

statutory interpretation. To the extent the alleged time spent on COVID-19 screenings is “hours

worked” under the IMWL, Plaintiffs have met their pleading requirement on their IMWL claim.

Courts must interpret the IMWL consistent with the intention of the Illinois General Assembly.

Mattis v. State Universities Retirement System, 212 Ill.2d 58, 76 (Ill. 2004).9 The best evidence of

the legislature’s intent is the statute’s language. Mattis, 212 Ill.2d at 76. “If the legislative intent

can be discerned from the statutory language, this intent must prevail, and no resort to other tools

of statutory construction is necessary.” Id. The IMWL states:

        Except as otherwise provided in this Section, no employer shall employ any of his
        employees for a workweek of more than 40 hours unless such employee receives
        compensation for his employment in excess of the hours above specified at a rate not less
        than 1 1/2 times the regular rate at which he is employed.

820 ILCS 104/4a. Section 4a(2) identifies a number of exceptions to an employer’s obligation to

pay overtime wages, but no provision excepts payment for preliminary or postliminary work

activities. Id.

        The Illinois Minimum Wage Law does not define the term “hours.” However, the

regulations issued by the Illinois Department of Labor (“IDOL”) defines “hours worked” as “all




9
 This court must also interpret the IMWL consistent with how it expects the Illinois Supreme Court
would interpret it. Bogie v. Rosenberg, 705 F.3d 603, 609 (7th Cir. 2013).



                                                  17
     Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 26 of 36 PageID #:222




the time an employee is required to be on duty, or on the employer’s premises, or at other

prescribed places of work, and any additional time he or she is required or permitted to work for

the employer.” Ill. Admin. Code, tit. 56, § 210.110 (emphasis added). Amazon ignores that the

Illinois legislature expressly granted the IDOL authority to “make and revise administrative

regulations, including definitions of terms, as he deems appropriate to carry out the purposes of

this Act, to prevent the circumvention or evasion thereof, and to safeguard the minimum wage

established by the Act,” and because this regulation is consistent with the IMWL, it has “the force

and effect of law.” Wagner v. Air Methods Corporation, 539 F. Supp. 3d 1157, 1167 (D. Colo.

2021) (deferring to the IDOL’s definition of “hours worked”); Mitchell v. JCG Industries, Inc.,

745 F.3d 837, 844 (7th Cir. 2014) (deferring to the IDOL’s definition of “hours worked”); Kean

v. Wal Mart Stores, Inc., 919 N.E.2d 926, 936 (Ill. 2009) (agency’s reasonable regulations carry

the “force and effect of law”).10

        The clear and unambiguous definition of “hours worked” in the IDOL regulation ends the

legal analysis required to resolve Plaintiffs’ IMWL claim. People ex rel. Madigan v. Illinois Com.

Comm’n, 231 Ill. 2d 370, 380 (2008) (“Where the language of the regulation is clear and

unambiguous, we must apply it as written, without resort to extrinsic aids of statutory

construction.”). Amazon’s attempts to inject quotations from the bill’s sponsor or lengthy

discussions of federal law into the analysis ignores the express directive of the Illinois Supreme

Court to apply the language of the statue as written, without additional extrinsic aids.



10
  Controlling Seventh Circuit authority requires that this Court give the IDOL’s regulation deference. But
Plaintiffs add that that the regulation is reasonable because, as Amazon’s Motion to Dismiss concedes, it
patterns language in the regulation interpreting the FLSA. See 29 C.F.R. § 778.22310 (“As a general rule
the term ‘hours worked’ will include: (1) All time during which an employee is required to be on duty or
to be on the employer’s premises or at a prescribed workplace; and (2) All time during which an
employee is suffered or permitted to work whether or not he is required to do so.”).



                                                   18
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 27 of 36 PageID #:223




       Plaintiffs’ allegations fall squarely within the definition of hours worked under the

applicable Illinois regulation, and thus they have alleged compensable time under the IMWL.

They allege that Amazon required its hourly, non-exempt employees to undergo a COVID-19

screening on Amazon’s premises before they began each shift. SAC ¶¶ 25, 42-45. Because

Plaintiffs allege they worked over 40 hours a week and that they were not paid for all overtime

hours they spent undergoing the COVID-19 screenings, they state a claim for unpaid overtime

compensation under the IMWL. SAC ¶¶ 27, 29, 55-56, 101-103.

               2.      The IMWL Does Not Incorporate Portal-to-Portal Act Provisions
       In seeking to expand the analysis beyond the clear language of the IDOL regulation,

Amazon argues that because the IMWL and FLSA are similar in some respects, the IMWL

implicitly incorporates the federal 1947 Portal Act amendments. It is those federal amendments,

rather than any provision in the text of any Illinois statute or regulation, that exclude from hours

worked activities that are preliminary and postliminary to the employee’s principal activity. But

the Court need not follow Amazon down this path. Illinois has never adopted the Portal Act, and

the Seventh Circuit has likewise held that the Portal Act amendments were not incorporated into

the IMWL.

                     i. The Portal-to-Portal Act
       In 1947, Congress amended the FLSA by adding the Portal-to-Portal Act in response to the

Supreme Court’s decision in Anderson v. Mt. Clemens Pottery Co., which held the “workweek”

encompassed all time during which an employee is “necessarily required to be on the employer’s

premises, on duty or at a prescribed workplace.” 328 U.S. 680, 690 (1946); Pietrzycki v. Heights

Tower Service, Inc., 290 F. Supp. 3d 822, 844 (N.D. Ill. November 29, 2017) (explaining the Portal

Act was intended to narrow the coverage of the minimum and overtime wage provisions.) The

Portal Act excluded time employees spend walking, riding, or traveling to and from the place



                                                19
     Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 28 of 36 PageID #:224




where they perform their principal activities and time employees spend performing activities

which are preliminary to or postliminary to their principal work activities. 29 U.S.C. § 254(a).11

        In 1949, the Portal Act was further amended to add Section 3(o), providing that an

employer does not have to pay for time spent “changing clothes or washing at the beginning or

end of each workday” if such time is excluded from working time “by the express terms or by

custom or practice under a bona fide collective-bargaining agreement.” 29 U.S.C. § 203(o).

Mitchell, 745 F.3d at 846 (noting this Portal provision is now Section 203(o) of the FLSA).

Although the Portal Act created certain exceptions, it did not otherwise alter what constitutes hours

worked under the FLSA. 29 C.F.R. § 785.7 (“The Portal-to-Portal Act did not change the rule

except to provide an exception for preliminary and postliminary activities.”) (emphasis added).

Nor did the Portal Act restrict states from enacting laws that provided employees with more

generous rights. 29 CFR §790.2(a) n.8.12

                       ii. Controlling Circuit Authority Holds Hours Worked Under the
                          IMWL Differ from Hours Worked Under the FLSA
        Amazon’s argument that mere similarities between the Illinois regulation defining “hours

worked” and the federal regulations defining the workweek requires the conclusion that the IMWL

incorporates the FLSA’s preliminary and postliminary activity exception into Illinois law lacks

any legal basis. And the Seventh Circuit has squarely rejected this leap of logic.


11
  The Portal-to-Portal Act also amended the FLSA by: (1) creating a two year limitations period, which
was later extended to three years if the violation is willful (29 U.S.C. §255); (2) requiring a party plaintiff
to file a written consent to join a collective action under the FLSA (29 U.S.C § 256); (3) creating a
defense that allows employers to escape liability if they rely on a written administrative regulation or
order (29 U.S.C. § 259(a); and (4) creating a defense to the imposition of liquidated damages (29 U.S.C.
§260). None of these Portal provisions were incorporated into the IMWL.
12
  See also, 93 Cong. Rec. 2098. (Sen. Ferguson: “I should like to add for the record of today that this bill
would not strike at the heart of or defeat any cause of action that arose out of a State statute”; Sen.
Donnell: “That is correct. The Federal Government has absolutely no power, as I see it, to cancel a right
existing under State statute. At any rate, we do not undertake to assert any such power.”).



                                                      20
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 29 of 36 PageID #:225




        In Mitchell v. JCG Industries, Inc. the Seventh Circuit examined whether time employees

spent changing clothes before and after shifts and during lunch breaks was compensable under the

FLSA and IMWL. As a threshold matter, the court applied a different analysis to the IMWL than

the FLSA claim. The court held the IMWL does not incorporate the Portal exclusion that is now

contained in Section 203(o) of the FLSA. Mitchell, 745 F.3d at 844 (the IMWL “contains no

counterpart to section 203(o)” of the FLSA). The Seventh Circuit deferred to the IDOL’s definition

of “hours worked,” and recognized that it broadly encompasses all time an employee is required

to be on an employer’s premises unless a specific exclusion applies. Id. The court went on to

conclude that the time at issue was not compensable under the IMWL, but for different reasons

than why it was not compensable under the FLSA. Id. at 844-46. The Court determined an explicit

meal break exception applied to the time spent changing during lunch and a de minimus exception

applied to the time spent changing before and after the shifts. Id.

        Under Mitchell, the time Amazon required its employees to undergo COVID-19 screenings

on its premises is compensable. See Wagner, 539 F. Supp. 3d at 1168 (“The Seventh Circuit’s

decision in Mitchell suggests the most logical reason of the ‘hours worked’ definition. It is ‘broad,’

and if it would encompass time employees spend changing during a meal break on an employer’s

premises (but-for the meal period and de minimus exceptions”).

                    iii. The IMWL Makes No Mention to the Portal-to-Portal Act or its
                        Provisions
        The IMWL was passed 24 years after the passage of the Portal-to-Portal Act and contains

no references to the Portal Act. But Amazon asks this Court to re-write the IMWL and import one

of the Portal Act provisions into the IMWL. This is not within the Court’s authority. The Illinois

Supreme Court has held that courts do not have the power to write new substantive provisions into

a statute:



                                                 21
     Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 30 of 36 PageID #:226




     The courts have no legislative powers, and in the interpretation and construction of
     statutes their sole function is to determine, and within the constitutional limits of the
     legislative power to give effect to, the intention of the Legislature. They cannot read into a
     statute something that is not within the manifest intention of the lawmaking body as gathered
     from the statute itself.

Sup v. Cervenka, 331 Ill. 459, 462, 163 N.E. 396, 398 (1928).

        The Illinois Supreme Court has repeatedly declined to rewrite statutes, and it must be

presumed that the court would decline to re-write the IMWL in this instance. Sup, 331 Ill. at 462;

Estate of Charles W. Kent v. Vollmer, 4 Ill.2d 81, 84 (Ill. 1954) (declining to hold that the Illinois

legislature omitted words from the Probate Act by inadvertence or without intention).13 Other

states have similarly rejected the notion that the Portal-to-Portal Act was adopted into state law by

silence. Frlekin v. Apple Inc., 457 P.3d 526, 532-23 (Cal. 2020); Roberts v. State of Arizona, 512

P.3d 1007, 1015 (Ariz. 2022); In re:Amazon.com, Inc., 255 A.3d 191, 201 (Pa. 2021); Amaya v.

DGS Constructions, LLC, 278 A.3d 1216, 1239-40 (Md. 2022).

                      iv. The IMWL’s Adoption of Other FLSA Exclusions By Specific
                         Reference Emphasizes the Significance of the Omitted Portal Act
                         Provisions
        The IMWL’s omission of the Portal provisions from the IMWL is significant given the

Illinois Legislature explicitly adopted other FLSA exclusions.14 The canon of construction “the




13
   See also, Silverman v. City Engineering Const. Co., 228 Ill. 154, 157 (Ill. 1930) (declining “to read into
a statute something that is not within the manifest intention of the lawmaking body as gathered from the
statute itself.”); Coon v. Doss, 361 Ill. 515, 521 (Ill. 1935) (“Courts have no legislative powers and may
not incorporate in a statute provisions not within the intention of the Legislature as express in the statute
itself.”).
14
   Specifically, the IMWL: (1) excludes from the definition of employees individuals who work for an
accredited Illinois College at which they are a student and who are covered by the FLSA. Section
105/3(d)(6); (2) excludes from the overtime provisions any governmental employee who is excluded from
the definition of employee under the FLSA. Section 105/4a(2)(D); (3) excludes from the overtime
provisions individuals who are employed in a bona fide executive, administrative, or professional capacity
as defined by the FLSA and the rules adopted under that Act as of March 30, 2003. Section 105/4a(2)(E);
(4) excludes from the overtime provisions commissioned employees who are exempt under the FLSA.
Section 105/4a(2)(F); (5) excludes from the overtime provisions employees who are members of a
bargaining unit and whose union agreed to alternate shift schedules as allowed by the FLSA. Section


                                                     22
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 31 of 36 PageID #:227




expression of one is the exclusion of others,” requires a finding that the General Assembly’s

omission of the Portal exclusions was purposeful in light of its inclusion of other exclusions. In

Wagner v. Air Methods Corporation, the court refused to import the FLSA’s sleep time exception

into the IDOL’s definition of “hours worked,” noting the adoption of similar exclusions under the

FLSA for meal periods and travel time but not sleep time, despite being aware of the sleep time

rule under federal law, demonstrated a conscious decision to depart from the FLSA. Wagner, 539

F. Supp. 3d at 1168-89.

                3.      Amazon Does Not Provide Direct Support that the IMWL
                        Incorporates the Portal-to-Portal Act Provisions
        Amazon’s citation to a string of cases for the proposition the IMWL and FLSA define

compensable work hours the same is misleading. Mtn to Dismiss at 15-16. Four of the cases cited

were decided before the Seventh Circuit issued the Mitchell decision holding that the IMWL does

not incorporate the Portal exclusions. Guzman v. Laredo Sys., Inc., 2012 WL 5197792 (N.D. Ill.

Oct. 19, 2012); Rix v. UPS, 2007 WL 9813347 (N.D. Ill. Apr. 24, 2007); Ladegaard v. Hard Rock

Concrete Cutters, Inc., 2004 WL 1882449 (N.D. Ill. March. 23, 2003); O’Brien v. Encotech

Constr., 2004 WL 609798 (N.D. Ill. March 23, 2004). The remaining cases do not analyze whether

the IMWL incorporates the Portal Act exclusions for preliminary and postliminary activities, and

only make the conclusory statement that “Courts have generally held that the IMWL parallels the

FLSA…Thus, the same analysis generally applies to both the FLSA and IMWL.” Bartlett v. City

of Chicago, 2019 WL 4823532, at *4 (N.D. Ill. Oct. 1, 2019); Meadows v. NCR Corp., 2017 WL

5192009, at *4 n.13 (N.D. Ill. Nov. 9, 2017) (stating the same in a single footnote); Pizano v. Big

Top & Party Rentals, LLC, 2017 WL 1344526 at *1 n.1 (N.D. Ill. Apr. 12, 2017) (stating the same



105/4a(2)(J); and (6) provides that a governmental body is not in violation if they comply with Section 7(o)
or 7(k) of the FLSA. Section 105/4a(4).



                                                    23
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 32 of 36 PageID #:228




in a single footnote). In the final case cited by Amazon, Chagoya v. City of Chicago, the court

examined the FLSA and IMWL claims together because “the parties agree that the same standard

applies to the operators’ claims under the FLSA and the IMWL.” Chagoya, 992 F.3d 607, 615

n.21 (7th Cir. 2021). Chagoya is distinguishable. Plaintiffs do not agree that their FLSA and IMWL

claims are subject to the same analysis.

       D.      Plaintiffs Plausibly State a Claim Under the IWPCA

       The IWPCA allows for a cause of action based on wrongfully withheld compensation

pursuant to a contract or agreement. Brown v. Club Assist Rd. Serv. U.S., Inc., No. 12 CV 5710,

2013 WL 5304100, at *8 (N.D. Ill. Sept. 19, 2013). The agreement need not be a “formally

negotiated contract,” nor must it contain the “formalities and accompanying legal protections of a

contract.” Gallardo v. Scott Byron & Co., No. 12-CV-7202, 2014 WL 126085, at *14 (N.D. Ill.

Jan. 14, 2014). Plaintiffs do not need to plead all of the elements of a contract if they can plead

facts showing mutual assent to an agreement. Id.

       Plaintiffs allege that Amazon agreed to pay Plaintiffs an hourly rate of pay for the time

they worked at Amazon’s facility. SAC ¶¶ 31, 101. Plaintiffs further allege that Amazon violated

the agreement following the outbreak of the Coronavirus by preventing Plaintiffs from clocking in

when they first arrived at Amazon’s facility and instead required them to undergo a COVID-19

screenings prior to allowing them to clock in each day. SAC ¶¶ 33-34. As a result, Plaintiffs

suffered a loss of the wages Amazon agreed to pay them. SAC ¶¶ 35-37, 112-114.

       Plaintiffs seek their agreed upon regular straight time hourly rate of pay for all time they

worked but were not paid. Their “specific” regular hourly rate of pay is the rate that the parties

agreed that Plaintiffs would be paid for each hour worked. The amount Plaintiffs are owed for

uncompensated work is then a function of simple mathematical calculation. Plaintiffs’ Second




                                                24
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 33 of 36 PageID #:229




Amended Complaint is sufficient to put Amazon on notice that this is the basis for their IWPCA

claim. ECF No. 16, Second Am. Compl. ¶¶ 47-56; Fed. R. Civ. P. 8.

       Similar allegations have been held to be sufficient to state a claim under the IWPCA. In

Cates v. Alliance Coal, LLC, the plaintiffs alleged that there was an agreed hourly rate of pay for

the performance of their work and the plaintiffs were not paid for all hours worked at the agreed

rates. Cates v. All. Coal, LLC, No. 21-CV-377-SMY, 2022 WL 4782857, at *5-6 (S.D. Ill. Oct. 3,

2022). The Court held this was sufficient to put the defendant on notice of the plaintiffs’ claims

and plausibly stated a claim under the IWPCA. Id.

       Amazon contends that because it implemented a policy that deprived pay to employees for

the time they spent in COVID-19 screenings, Plaintiffs’ claim cannot survive. Mtn. to Dismiss at

19. This argument ignores Plaintiffs’ allegations. Plaintiffs contend there was an agreement to pay

them for all time they spent performing the duties and tasks Amazon directed them to perform,

and Amazon violated that agreement by implementing a policy that deprived employees of pay for

the time they spent undergoing COVID-19 screenings. SAC ¶¶ 110-114. Plaintiffs do not concede

they mutually assented to Amazon’s policy to deprive them of wages for the time they spent in

COVID-19 screenings. In Steger v. Life Time Fitness, Inc., 2015 WL 5307708, at *2 (N.D. Ill.

Sept. 10, 2015), the court rejected similar arguments. The defendant argued it did not agree to pay

for work performed off-the-clock, but the court rejected this argument when denying the

defendant’s motion to dismiss. Id. The court held the plaintiffs adequately alleged the defendant

promised to pay them certain wages for every hour worked and failed to do so. Id. at *3.

       In another decision denying a Rule 12(b)(6) motion to dismiss an IWPCA claim for

allegedly failing to set forth the required “agreement or understanding,” the court explained:

       Utilimap argues the plaintiffs have failed to allege facts showing they had “an
       employment contract or agreement” pursuant to which Utilimap owed them



                                                25
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 34 of 36 PageID #:230




       compensation, an essential element of an IWPCA claim. See 820 ILCS 115/2.
       However, in the Court’s view, anything Utilimap is obligated to pay the plaintiffs
       by virtue of their work for Utilimap is “pursuant to an employment ... agreement.”
       Regardless of whether an agreement to work is in writing or for a specific duration
       or terminable at will, it is still an agreement. The plaintiffs’ complaint sufficiently
       alleges the existence of an employment agreement between Utilimap and the
       plaintiffs that essentially provides, “If you [the plaintiffs] work for me [Utilimap],
       I will pay you the wage I’ve offered you in accordance with the law.” Utilimap
       assented to these terms by hiring the plaintiffs, and the plaintiffs assented by
       working. Thus, the complaint is not deficient for failing to allege an employment
       agreement (internal citations omitted).

Martinez v. Utilimap Corp., No. 3:14-CV-310-JPG-DGW, 2014 WL 6751832, at *3 (S.D. Ill.

Nov. 24, 2014).

       Plaintiffs allege that Amazon deprived them of their earned regular wages by prohibiting

them from clocking in until after they completed a COVID-19 screenings. SAC ¶¶ 33-34. Amazon

disputes Plaintiffs’ characterization of the agreement Amazon had with its workers, arguing that

the agreement to pay an hourly wage did not cover the time employees spent in COVID-19

screenings. Plaintiffs disagree with that defense. At this stage, the Court is required to accept

Plaintiffs’ allegations as true, and whether Amazon can convince the Court that it was not required

to pay for off-the-clock time, is a merits question not suitable to resolve at the motion to dismiss

stage. See Labriola v. Clinton Entertainment Management, LLC, No. 15 C 4123, 2016 WL

1106862, at *4 (N.D. Ill. March 22, 2016) (affirmative defenses are not a basis for dismissal of the

complaint under Rule 12(b)(6) and noting that the defendants will have the opportunity to raise

defenses in their answer).

       E.      Plaintiffs Have Plausibly Alleged a Quantum Meruit Claim.

       Amazon’s motion conflates a quantum meruit claim with an unjust enrichment claim.

Plaintiffs plead the former, and not the latter. SAC ¶¶ 125-134. To state a claim for quantum

meruit, Plaintiffs must allege (1) its performance of a service for Defendant’s benefit; (2) the




                                                 26
     Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 35 of 36 PageID #:231




service was performed non-gratuitously; (3) Defendant accepted the service; and (4) no contract

for payment existed between the parties.15 Mooney v. Wyndham Worldwide Operations, Inc., 2014

WL 2959270, at *4 (N.D. Ill. July 1, 2014). Plaintiffs plausibly allege these facts. Plaintiffs claim

they were required to go through COVID-19 screenings each shift, Amazon benefited from the

COVID-19 screenings, Amazon did not pay Plaintiffs for their time spent in the screenings, and

that it would be unjust for Amazon to retain the benefit of the Plaintiffs’ time without paying. SAC

¶¶ 125-126, 128-129. Plaintiffs also allege that Amazon shifted the considerable cost,

responsibility, and risk to Plaintiffs by requiring the screenings, and Amazon knowingly received

the service that Plaintiffs provided. SAC ¶ ¶130, 131. Additionally, Plaintiffs allege the quantum

meruit claim in the alternative to the IWPCA claim, meaning, in the absence of the existence of a

contract, plaintiffs should recover under the theory of quantum meruit. SAC ¶ 6. See Holman v.

Indiana, 211 F.3d 399, 407 (7th Cir. 2000) (Under federal pleading rules, plaintiffs may plead

inconsistent claims in the alternative).

        Amazon argues that because the challenged conduct – not paying employees for time spent

in COVID-19 screenings – is common to the FLSA, IMWL claims and quantum meruit claim,

they should all stand or fall together. Amazon is wrong for at least two reasons. First, its reliance

on Cleary v. Philip Morris Inc., 656 F.3d 511, 517 (7th Cir. 2011) is misplaced because Cleary

involves an unjust enrichment claim, not a quantum meruit claim. Id. As explained above, the two

claims have different elements. They also provide for different remedies. In quantum meruit, the



15
   The different elements of an unjust enrichment claim are: (1) defendant received a benefit (2) to the
detriment of plaintiff, and (3) it is against the fundamental principles of justice, equity, and good
conscience for defendant to retain the benefit. Mooney, 2014 WL 2959270, at *3 (N.D. Ill. July 1, 2014),
citing Michael Reese Hosp. & Med. Ctr. v. Chi. HMO, Ltd., 554 N.E.2d 472, 474 (Ill.App.Ct.1990).




                                                   27
   Case: 1:23-cv-00685 Document #: 25 Filed: 04/11/23 Page 36 of 36 PageID #:232




recovery is measured by the reasonable value of work provided. Jameson Real Est., LLC v. Ahmed,

2018 IL App (1st) 171534, ¶ 61, 129 N.E.3d 128, 143. In unjust enrichment claims, the recovery

is measured by the benefit received and retained as a result of the benefit provided. Id.

       Second, Plaintiffs’ quantum meruit claim involves different conduct than the FLSA and

IMWL claims. The FLSA and IMWL Classes are defined as persons who had to undergo COVID-

19 screenings and who worked more than 40 hours in a week. SAC ¶¶ 76, 78. The Quantum Meruit

Class is defined as “All current and former hourly paid employees of Amazon” who had to undergo

COVID-19 screenings, which includes persons who worked less than 40 hours in individual

workweeks. SAC ¶ 68. Thus, the claims are not co-extensive.

       Because Plaintiffs have pleaded the elements of quantum meruit claim, Amazon’s motion

to dismiss Count IV should be denied.

III.   CONCLUSION

       For the reasons stated in this response, Plaintiffs have alleged sufficient facts to state claims

for relief, and Amazon’s Motion to Dismiss should be denied.

 Dated: April 11, 2023                         Respectfully submitted,

                                               /s/Douglas M. Werman

                                               Douglas M. Werman- dwerman@flsalaw.com
                                               Maureen A. Salas – msalas@flsalaw.com
                                               WERMAN SALAS P.C.
                                               77 W. Washington St., Suite 1402
                                               Chicago, Illinois 60602
                                               Tel: (312) 419-1008

                                               Don J. Foty- dfoty@hftrialfirm.com
                                               HODGES & FOTY, LLP
                                               Bar No. 24050022
                                               2 Greenway Plaza, Suite 250
                                               Houston, Texas 77046
                                               Tel: (713) 523-0001




                                                  28
